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 5

 6
                            UNITED STATES DISTRICT COURT
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8

 9                                              ) NO. 07-cr-00248-WBS-7
     UNITED STATES OF AMERICA,                  )
10                                              )
                  Plaintiff-Appellee,           ) [PROPOSED] ORDER FOR
11                                              ) DISCLOSURE OF COPY OF
           vs.                                  ) SEALED RECORD TO
12                                              ) DEFENDANT’S APPELLATE
     ALVARO COBIAN GOMEZ,                       ) COUNSEL
13                                              )
                  Defendant-Appellant.          )
14                                              )
15

16                                          ORDER
17

18        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that
19   the attachment to the document filed under Docket #1232, which attachment is
20   presently filed under seal, shall be unsealed as to defendant’s appellate counsel
21   only and provided to defendant’s appellate counsel only for purposes of evaluating
22   its relevance to potential appellate issues.
23        IT IS FURTHER ORDERED that copies of the document shall
24   be provided to counsel for the United States if it is referenced by the
25   defense in one or more of its briefs in the appeal. If the document is
26   not referenced in the briefs but counsel for the United States believes
27   the document is for some other reason relevant to an issue raised in
28
          Case 2:07-cr-00248-WBS-DB Document 1323 Filed 09/03/14 Page 2 of 2



 1   the defense briefs, counsel for the United States may apply for an
 2   order that he be provided with a copy of the document.
 3

 4         IT IS SO ORDERED.
 5   Dated: September 2, 2014
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